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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                                 AIKEN DIVISION

State of South Carolina,                    )
                                            )
                        Plaintiff,          )
                                            )
       v.                                   )         Civil Action No.: 1:16-cv-00391-JMC
                                            )
United States;                              )
                                            )
United States Department of Energy;         )
                                            )
Rick Perry, in his official capacity as     )
Secretary of Energy;                        )
                                            )          ORDER OF INJUNCTIVE RELIEF
National Nuclear Security Administration; )
and                                         )
                                            )
Lt. General Frank G. Klotz, in his official )
capacity as Administrator of the National )
Nuclear Security Administration and         )
Undersecretary for Nuclear Security,        )
                                            )
                        Defendants.         )
                                            )

           I.      RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

       By a March 20, 2017 order, the court granted in part Plaintiff the State of South Carolina’s

(the “State”) Motion for Summary Judgment in this matter. (ECF No. 86.) Specifically, the court

granted the State’s requested relief for an injunctive order compelling Defendant Secretary of

Energy (the “Secretary”) to remove from South Carolina one metric ton of defense plutonium

pursuant to 50 U.S.C. § 2566(c)(1) and 5 U.S.C. § 706(1). (Id. at 37.) Section 2566(c)(1) states:

       If the MOX production objective 1 is not achieved as of January 1, 2014, the
       Secretary shall, consistent with the National Environmental Policy Act of 1969



1
 MOX stands for mixed oxide. (ECF No. 1 at 1.) Section 2566(h) defines the “MOX production
objective” as meaning
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         [(“NEPA”)] and other applicable laws, remove from the State of South
         Carolina, for storage or disposal elsewhere not later than January 1, 2016, not
         less than 1 metric ton of defense plutonium or defense plutonium materials[.]

50 U.S.C. § 2566(c)(1). The court determined that (1) there was no dispute that the MOX

production objective had not been achieved by January 1, 2014, or any time thereafter; (2) there

was no dispute that the Secretary had not removed from South Carolina for storage or disposition

elsewhere the one metric ton of defense plutonium; 2 and (3), under § 706(1), the State was entitled

to a court order compelling the removal of the one metric ton of defense plutonium. (ECF No.

86.)

         However, the court denied the State’s Motion for Summary Judgment to the extent the

State requested that the injunctive order compel the Secretary to remove the defense plutonium

immediately. (See id.) Instead, the court ordered the parties “to meet and confer and prepare a

joint written statement setting forth, if necessary, proposed deadlines, schedules, or other items in

detail sufficient to form the basis of the injunctive order contemplated by [the March 20, 2017

order].” (Id.) The court later permitted the parties to file separate written statements regarding the

injunctive order if they could not reach an agreement. (See ECF Nos. 89, 90, 98.) Because the

parties could not reach an agreement, they filed their separate statements (see ECF Nos. 97, 100)

and respective responses to the statements (see ECF Nos. 103, 104). After reviewing over one

hundred pages of arguments and exhibits, the court notes that Defendant United States Department



        production at the MOX facility of mixed-oxide fuel from defense plutonium and
        defense plutonium materials at an average rate equivalent to not less than one metric
        ton of mixed-oxide fuel per year. The average rate shall be determined by
        measuring production at the MOX facility from the date the facility is declared
        operational to the Nuclear Regulatory Commission through the date of assessment.
50 U.S.C. § 2566(h). The term ‘MOX facility’ means the mixed-oxide fuel fabrication facility at
the SRS. (ECF No. 1 at 2.)
2
  Hereinafter, all references to defense plutonium include “defense plutonium materials,” as stated
in the statute. See 50 U.S.C. § 2566(c)(1).
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of Energy (“DOE”) has attempted to reargue, in the form of voluminous records, a position that

rids them of responsibility for removal of the defense plutonium, despite the court’s explicit

findings to the contrary. Further, the court observes that the DOE’s briefing is non-responsive to

the court’s order to present detail sufficient to form the basis of the injunctive order.

                                         II.     DISCUSSION

   A. Requiring Removal of One Metric Ton of Defense Plutonium From the State Within
      Two Years

       The State argues that the court should impose a deadline for removal as opposed to an

open-ended, estimated target date or range for removal, as Defendants entreat the court to enforce.

(See ECF No. 97 at 9-12; ECF No. 100 at 34.) The court’s previous orders rejected the notion that

§ 2566(c)(1)’s date for removal was a goal. (See ECF No. 84 at 34-41.) Lawmakers, after much

deliberation and consistent with the NEPA and other applicable laws, concluded that two years

was sufficient time for the Secretary to complete the removal of one metric ton of defense

plutonium from South Carolina. See 50 U.S.C. § 2566(c). When Congress imposes a deadline for

an agency to take action, a court reviewing the agency’s action (or inaction) under the

Administrative Procedure Act should craft an injunction that includes a deadline for taking the

unlawfully withheld action. See Ctr. for Food Safety v. Hamburg (Hamburg II), No. C 12-4529

PJH, 2013 WL 12182144, at *1 (N.D. Cal. June 21, 2013); Am. Lung Ass’n v. Browner, 884 F.

Supp. 345, 347-49 (D. Ariz. 1994); Sierra Club v. Ruckelshaus, 602 F. Supp. 892, 899 (N.D. Cal.

1984). In fact, the court has limited discretion to impose a more lenient timeframe than what was

set by the statute. Linemaster Switch Corp. v. U.S. Envtl. Prot. Agency, 938 F.2d 1299, 1303 (D.C.

Cir. 1991); Sierra Club v. Johnson, 444 F. Supp. 2d 46, 57 (D.D.C. 2006); Sierra Club v. Thomas,

658 F. Supp. 165, 174-75 (N.D. Cal. 1987); New York v. Gorsuch, 554 F. Supp. 1060, 1063

(S.D.N.Y. 1983).

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       If an agency is concerned that a deadline does not contemplate the legal and practical

difficulties inherent in complying with the injunction, the solution is not to, ex ante, craft an

injunction without a meaningful deadline. See Robertson v. Jackson, 972 F.2d 529, 535 (4th Cir.

1992); Nat. Res. Def. Council, Inc. v. Train, 510 F.2d 692, 713 (D.C. Cir. 1974); Browner, 884 F.

Supp. at 347. Rather, an agency, ex post, should demonstrate that compliance with the deadline

was impossible after attempting to comply with all due diligence, either in a proceeding to extend

the deadline or in offering a defense of impossibility in civil contempt proceedings. Id. Thus, the

court refutes Defendants’ argument that the court should only impose a target or estimated date

for removal.

       Much of Defendants’ arguments are premised on their view that removal should be

accomplished by first “downblending” 3 the defense plutonium at Savannah River Site (“SRS”)

before transferring it elsewhere. (ECF No. 100 at 3.) Relying on the Gunter Declaration 4 attached

to their statement, Defendants explain that navigating the legal and practical complexities of

downblending as their preferred disposal policy for defense plutonium took nine years. (Id. at 8.)

Further, Defendants assert numerous limitations on the rate at which downblending can occur (e.g.,

currently having only one glovebox; 5 having an insufficient number of workers, who require

intensive training and who can only do the work for limited segments of exposure times; having

to obtain a large number of transportation equipment which must first be approved for use



3
  “Downblending” is a process in which defense (“weapons usable”) plutonium is transformed into
non-defense (not “weapons usable”) plutonium. (ECF No. 100 at 6 n.6); see 50 U.S.C. §
2566(h)(3).
4
  Henry Allen Gunter is employed by the DOE at the SRS in Aiken, South Carolina, as Plutonium
Program Manager and Senior Technical Advisor to the Assistant Manager for Nuclear Materials
Stabilization. (ECF No. 100-1 at 2.)
5
  A glovebox is an “engineered enclosure with separate ventilation that provides containment of
the plutonium and protects the worker, the environment, and the public from contamination.”
(ECF No. 100 at 2 n.1.)
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following numerous inspections). As a result of these limitations, Defendants estimate that they

will not be able to complete the removal of one metric ton of downblended material until 2025.

(Id.) Moreover, Defendants maintain that there is no indication that other removal methods will

be faster than the downblending method. (Id. at 22.) Because the fastest that downblending can

result in the removal of one metric ton of material is 2025, Defendants assert a two-year deadline

would be impossible to meet. (Id.)

       Defendants request an injunction that does not require them to remove a single metric ton

until 2025. (ECF No. 100 at 9.) The court will not endorse an injunction that approves a plan

under which Defendants will inevitably violate subsection (c)(2). See 50 U.S.C. § 2566(c)(2) (“If

the MOX production objective is not achieved as of January 1, 2014, the Secretary shall, consistent

with NEPA and other applicable laws, remove defense plutonium from the State of South Carolina,

for storage or disposal elsewhere no[] later than January 1, 2022.”). Therefore, Defendants are

permitted to pursue the downblending process to meet their statutory obligations only if it assists

in removing the defense plutonium from South Carolina in the most expeditious way possible

while in compliance with § 2566(c)(1).

       Further, Defendants contend that the statute’s two-year timeframe may be ignored for

purposes of crafting the injunction. (ECF No. 100 at 25.) First, Defendants argue that the statutory

two-year timeframe should not be used as a baseline because the statute was enacted under the

presumption that “the MOX facility would be operational prior to January 1, 2014, and certainly

prior to January 1, 2016, and would thus be available to process defense plutonium for removal.”

(Id.) The court rejects this argument. The statute makes no such presumption and, in fact,

subsection (c)(1) was included in the statute to ensure removal would occur specifically for

circumstances under which the MOX facility would not be fully operational. See 50 U.S.C. §



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2566(b)(6) (“Upon making a determination . . . [that there is a substantial and material risk that the

MOX production objective will not be achieved by 2012] or [that the MOX production objective

has not been achieved after January 1, 2014], the Secretary shall submit to Congress a report on

the options for removing from the State of South Carolina an amount of defense plutonium or

defense plutonium materials equal to the amount of defense plutonium or defense plutonium

materials transferred to the State of South Carolina after April 15, 2002.”).

       Second, Defendants argue that the language in the statute requiring that the removal be

consistent with the NEPA and other applicable laws would render the two-year deadline

“irrelevant” if so complying necessarily took longer than 2 years. (ECF No. 100 at 25.) The court

is not convinced by this argument. Defendants reading of the statute would render the two-year

deadline a nullity. The text is more naturally read to require both removal within two years and

adherence to the NEPA and applicable laws. If Defendants found these requirements mutually

exclusive, the solution is not to ignore the one that is incompatible with their policy preferences;

the solution was to seek a legislative fix. Therefore, the court refuses to adopt such a reading of

the statute. The court finds that Defendants have two years from the date of this injunctive order

to remove the one metric ton of defense plutonium.

   B. Requiring Defendants to Reappropriate or Request Funding

       The State requests that the court require Defendants, if necessary, to “reprogram, transfer,

or request additional appropriated funds” in order to accomplish removal within two years. (ECF

No. 97 at 2.) The State does not explain this request in its briefing. The court has stated that it

“recognizes that the order must be fashioned so as to not decree how the Secretary should

accomplish the task of removing the one metric ton of defense plutonium.” (ECF No. 86 at 33

(citing Norton v. S. Utah Wilderness All., 542 U.S. 55, 65 (2004); Hyatt v. U.S. Patent &



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Trademark Office, 110 F. Supp. 3d 644, 652-53 (E.D. Va. 2015)).) The court will not direct

Defendants on how they must obtain funding for the removal. Defendants espouse that the court

attempts to guide its action in carrying out removal by dictating the method and manner in which

to do so. (ECF No. 100 at 10.) To the contrary, the court only mandates Defendants to adhere to

the statutory requirements firmly laid out in 50 U.S.C. § 2566(c)(1).

   C. Setting Forth Potential Civil Contempt Sanctions

       The State requests that the court require that “[i]f the Federal Defendants violate any part

of the injunction, the State may seek, and this Court may grant, civil contempt sanctions against

the Federal Defendants, including, but not limited to, the payment of at least One Million and

No/100 Dollars ($1,000,000.00) for each day of noncompliance.” (ECF No. 97 at 3.) Defendants

espouse that ordering a pre-determined amount of sanctions is premature when the facts underlying

any potential civil contempt have not yet occurred. (ECF No. 100 at 26.) The court agrees.

       There is no need to memorialize in an injunction that a party may seek and the court may

award sanctions for civil contempt; the law already provides for such remedies. See In re Gen.

Motors Corp., 61 F.3d 256, 258 (4th Cir. 1995) (asserting that sanctions ahead of time are

premature because the appropriateness of sanctions will be fact-intensive and depend on the

underlying contempt). It would be incongruous to define the type and amount of sanction at the

outset by sanctioning a party before the party has a chance to be heard on the issue and an

opportunity to comply. See Int’l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821,

827 (1994); Walters v. People’s Republic of China, 72 F. Supp. 3d 8, 12 (D.D.C. 2014). Therefore,

the court will not grant the State’s request to set forth potential civil contempt sanctions.




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   D. Requiring Defendants to Take Steps to Comply with the NEPA and Other Applicable
      Laws

       The State requests that the court require Defendants, if necessary for removal, to initiate a

NEPA review within 60 days after the injunction is ordered and to take all steps necessary to

complete the NEPA review and comply with any other applicable laws. (ECF No. 97 at 3.) The

State does not explain this request in its briefing. Once again, the court understands this request

as directing the Secretary on how to accomplish the removal task, which the court must avoid.

Instead, the court elects to abide by the language of the statute in this regard and order that the

Secretary shall, consistent with the NEPA and other applicable laws, remove from South Carolina

for storage or disposition elsewhere one metric ton of defense plutonium.

   E. Retaining Jurisdiction and Requiring Defendants to Submit Quarterly Progress
      Reports and Prior Congressional Reports

       The State requests that the court (1) retain jurisdiction in order to enforce the terms of the

injunction; (2) require Defendants to submit to the court and the State all previous reports

submitted to Congress regarding § 2566; and (3) require Defendants to submit to the court and the

State quarterly progress reports detailing the projected date of removal, the status of any NEPA

review, and any impediments to complying with the injunction. (ECF No. 97 at 3-4.) In similar

cases, courts routinely retain jurisdiction and require progress reports to determine whether the

agency is in compliance. (ECF No. 97 at 12); see Cobell v. Norton, 240 F.3d 1081, 1109 (D.C.

Cir. 2001); N. States Power Co. v. U.S. Dep’t of Energy, 128 F.3d 754, 760 (D.C. Cir. 1997); Pub.

Citizen Health Research Grp. v. Brock, 823 F.2d 626, 629 (D.C. Cir. 1987); Thomas, 658 F. Supp.

at 174-175; Doe v. Heckler, 580 F. Supp. 1224 (D. Md. 1984).

       Submitting information such as prior congressional reports and future progress reports is

more appropriate where, as here, (1) the agency disavowed its obligation to take the agency action

at issue; (2) the court finds the agency action was required by a specified deadline; and (3) the
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agency resists imposition of a deadline in the injunction. The burden placed on Defendants to

submit prior congressional reports is almost non-existent because those reports are readily

available. Further, the burden to submit future progress reports is low because the information

requested is minimal. Lastly, submitting the information would be useful to the parties and the

court if, as anticipated here, there is a dispute as to whether compliance within the two year

timeline is impossible.

       Defendants concede that the court has the authority to retain jurisdiction and require

submission of the reports. (ECF No. 100 at 29.) Defendants argue, however, that the court should

decline to exercise that authority here. (Id.) Defendants emphasize that they have engaged in

downblending as a good faith attempt to meet the twin purposes of the statute (i.e., achieve MOX

production objectives and ensure removal of all defense plutonium from South Carolina), and that

there is no history of Defendants defying the court’s orders. (ECF No. 100 at 30.)

       Defendants miss the point. Requiring submission of the reports is necessary to determine

Defendants’ progress and to lay a foundation for determining whether compliance is impossible.

Defendants also argue that quarterly reports are excessive and divert resources it could otherwise

use to actually attempt to comply with the injunction. Taking this point into consideration, the

court still finds it worthy to require Defendants to produce progress reports on a semi-annual basis.

   F. Requiring a Sworn Attestation that Removal Has Been Completed

       The State requests that the court require the Secretary, once one metric ton of defense

plutonium has been removed, to provide the State and the court with a sworn affidavit that removal

in compliance with the injunction has been achieved. (ECF No. 97 at 4.) The State does not

explain this request in its briefing, and Defendants do not challenge it. The court requires the




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Secretary to submit an affidavit that removal has been achieved, as it will provide an appropriate

method for the court to end its retention of jurisdiction in this case.

     G. Requiring Defendants to Make Good Faith Efforts to Pursue Completion of the MOX
        Facility

        The State requests that the court require Defendants to diligently and in good faith pursue

construction of the MOX facility or any other congressionally mandated disposition method. (ECF

No. 97 at 4.) This request is beyond the scope of the court’s authority in this litigation. The State

brought an action to compel an unlawfully withheld agency action under § 706(1), namely the

Secretary’s duty to remove one metric ton of defense plutonium under § 2566(c)(1). (ECF No. 1.)

The court has the authority to compel that action, but it lacks the authority to compel an action

such as pursuing the construction of the MOX facility, a putative agency action that was not

litigated in this case. Therefore, the court refrains from granting this request.

                                        III.    CONCLUSION

        Based on the foregoing, the court imposes the following injunction:

1.      Within two years from the date of the entry of this injunctive order (or at the latest by
        1/1/2020), the Secretary of Energy shall, consistent with the National Environmental Policy
        Act (“NEPA”), 42 U.S.C. §§ 4321 et seq., and other applicable laws, remove from the State
        of South Carolina, for storage or disposal elsewhere, not less than one metric ton of defense
        plutonium or defense plutonium materials, as defined by 50 U.S.C. § 2566.

2.      Retention of Jurisdiction and Progress Reports

        a.     This court shall retain jurisdiction to enforce the terms of this injunctive order and
               to make such further orders as may be necessary or appropriate.

        b.     Within 30 days from the date of the entry of this injunctive order (or at the latest by
               1/31/2018), the named Defendants shall submit to the State of South Carolina (the
               “State”) and to this court all reports submitted by Defendants to Congress pursuant
               to the requirements of 50 U.S.C. § 2566 regarding the removal of defense
               plutonium or defense plutonium materials from South Carolina for storage or
               disposal elsewhere.




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       c.     Within 180 days from the date of the entry of this injunctive order (or at the latest
              by 6/15/2018), Defendants shall submit a progress report to the State and to this
              court, and Defendants shall submit further progress reports to the State and to this
              court every 180 days thereafter (or at the latest by 12/15/2018, and subsequently
              the 15th day of June and December) until the sworn attestation described in ¶ 3
              below has been provided to the State and to this court. Each progress report shall
              set forth in detail:

              i.      the projected date for removal of not less than one metric ton of defense
                      plutonium or defense plutonium materials from the State;

              ii.     the status and substance of any NEPA review, including the projected
                      timeline for completion of the NEPA process; and

              iii.    any impediment(s) to Defendants’ compliance with this injunctive order
                      and any steps Defendants are taking to address such impediment(s).

3.     Upon removal of not less than one metric ton of defense plutonium or defense plutonium
       materials from the State, the Secretary of Energy shall provide the State and this court with
       a sworn attestation that removal has been achieved.


IT IS SO ORDERED.




                                                     United States District Judge
December 20, 2017
Columbia, South Carolina




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